            Case 24-00200             Doc 18          Filed 09/03/24              Entered 09/03/24 10:34:54                      Desc Stamped
                                                          Summons                 Page 1 of 1

                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

              In re:
              Bankruptcy Case No. 23−16790
              ANIL CHUGH
                                                                                                             Debtor
              Adversary Proceeding No. 24−00200
              VIDHU CHUGH
                                                                                                             Plaintiff
              v.
              VIDHU CHUGH
                                                                                                             Defendant
                                                        ALIAS SUMMONS IN AN ADVERSARY PROCEEDING

             To: VIDHU CHUGH
             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.
             Address of Clerk
                       Clerk, U.S. Bankruptcy Court
                       Northern District of Illinois
                       219 S Dearborn
                       Chicago, IL 60604
             At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney/Pro Se Plaintiff
                       VIDHU CHUGH
             If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

             YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                       Courtroom 615, 219 S. Dearborn St Chicago, IL 60604 or Using Zoom
                       By video, use link: https://www.zoomgov.com/                                                   Status Hearing Date and Time
                       By telephone, call 1−669−254−5252 or 1−646−828−7666.                                           10/11/2024 at 11:00AM
                       Enter the meeting ID 160 731 2971 and passcode 587656.
             IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
             JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF
             DEMANDED IN THE COMPLAINT.




                   Date Issued
                   09 / 03 / 2024




                                                                                            Jeffrey P. Allsteadt, Clerk Of Court


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